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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 KIM BLANDINO,                                           Case No.: 3:20-cv-00191-APG-WGC

 4          Plaintiff                                    Order Denying Motion for Temporary
                                                                 Restraining Order
 5 v.
                                                                      [ECF No. 1-2]
 6 DREW CROSS, et al.,

 7          Defendants

 8

 9         Plaintiff Kim Blandino filed an emergency motion for access to a law library at Lakes

10 Crossing Center (LCC), where he was located when he filed his motion. He also sought access

11 to his legal materials that he had when he was detained at Clark County Detention Center before

12 he was sent to LCC. Although there were procedural irregularities associated with Blandino’s

13 filing, I ordered the Attorney General’s Office to advise the court whether it would enter a

14 limited notice of appearance on the defendants’ behalf only for purposes of responding to the

15 motion for temporary restraining order and if so, to file a response.

16         The Attorney General responded by stating that Blandino is no longer at LCC, so his

17 emergency motion is moot. ECF No. 6. A document the court sent to Blandino at LCC was

18 returned in the mail because Blandino is no longer there. ECF No. 5. Because Blandino is no

19 longer at LCC, his motion for emergency relief is moot, so I deny it.

20         I THEREFORE ORDER that plaintiff Kim Blandino’s emergency motion for immediate

21 restraining order (ECF No. 1-2) is DENIED as moot.

22         DATED this 20th day of April, 2020.

23
                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
